                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

THE ESTATE OF LARRY EUGENE
PRICE JR, by and through its Special
Administrator, Rodney Price,

              PLAINTIFF,
                                                    No. 2:23-cv-02008 PKH
                     v.

TURN KEY HEALTH CLINICS, LLC, an
Oklahoma corporation; SEBASTIAN
COUNTY, ARKANSAS; JAWAUN
LEWIS, DO; CHRISTEENA FERGUSON;
and J. DOES 1-20,

              DEFENDANTS.


                                    RULE 26(f) REPORT


       Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26.1, counsel for all parties participated

in a discovery conference on March 8, 2023. The parties jointly submit this report of their

conference.

1. Should any changes be made in the timing, form, or requirements of mandatory
   disclosures under Fed. R. Civ. P. 26(a)?

   The parties agree no changes are needed in the timing, form, or requirements of mandatory
   disclosures under Rule 26(a).

2. Date when mandatory disclosures will be made.

   The parties will serve mandatory disclosures by April 7, 2023.

3. The subjects on which discovery may be needed.

   The parties will conduct discovery on all subjects raised in Plaintiff’s complaint and
   Defendants’ answers.


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3(a).   Should discovery be conducted in phases or be limited to or focused on certain issues?

        The parties agree there is no need to conduct discovery in phases or limit it to certain issues.

4. Will any party be requested to disclose or produce information from electronic or
   computer-based media?

        Yes.

        (a) Will disclosure or production be limited to data reasonably available to the parties
            in the ordinary course of business?

            Yes

        (b) What is the anticipated scope, cost, and time required for disclosure or production
            of data beyond what is reasonably available to the parties in the ordinary course
            of business?

            N/A

        (c) What format, media, and procedure will be used for the production of such data?

            Electronic data will be produced on external drives (e.g., thumb drives, external hard
            drives) or by Cloud access (e.g., Dropbox, ShareFile), in their native format and/or in
            a format that they are readily usable, whichever is most feasible (e.g., electronic health
            records will be produced in PDF format). E-mails will be produced in .pst files and/or
            PDF, and in a format with text recognition that is easily searchable.

        (d) Have reasonable measures been taken to preserve potentially discoverable data
            from alteration or destruction in the ordinary course of business or otherwise?

           Counsel affirm that the parties are taking reasonable measures to preserve potentially
           discoverable data from alteration or destruction.

        (e) What other problems do the parties anticipate may arise in connection with
            electronic or computer-based discovery?

           The parties do not anticipate other problems arising in connection with electronic or
           computer-based discovery.




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5. Do the parties need any changes to the limitations imposed by the Federal Rules of Civil
   Procedure?

   Given the number of potential witnesses involved in this matter, the parties agree that each
   party may take up to 15 depositions. Additional depositions, if needed, will require a stipulation
   by all parties or permission from the Court.

   The parties agree that the standard limit of 25 interrogatories under Fed. R. Civ. P. 33 should
   be increased to 30.

6. Should any orders (e.g., protective orders) be entered?

   Defendants anticipate the need for a protective order pertaining to certain materials produced
   in discovery. The parties will work together to agree on the terms of an appropriate protective
   order. If the parties are unable to reach agreement, they will seek assistance from the Court.

   The parties request a scheduling order under Fed. R. Civ. P. 16(b). Plaintiff and Defendants
   have different positions with regard to expert disclosures under Fed. R. Civ. P. 26(a)(2):

          Plaintiff requests that the Court set a single deadline for all parties to disclose the
          experts they may call in their cases-in-chief (see Fed. R. Civ. P. 26(a)(2)(A)), and a
          second deadline 30 days later for all parties to disclose possible rebuttal experts (see
          Fed. R. Civ. P. 26(a)(2)(D)(ii)).

          Defendants request that the Court set a staggered deadline for expert disclosures, with
          Defendants’ expert disclosures due 14 days after Plaintiff’s expert disclosure deadline,
          and a subsequent deadline 30 days later for all parties to disclose rebuttal experts.

7. Are there any objections to initial disclosures on the ground that mandatory disclosures
   are not appropriate in the circumstances of the action?

   No objections.

8. Are there any objections to the proposed trial date?

   The parties propose that trial be scheduled for May or June 2024.

9. Proposed deadline for joining other parties and amending the pleadings.

   The parties propose a deadline of 180 days before trial to join parties or amend pleadings.

10. Proposed deadline for completing discovery.

   The parties propose a deadline of 120 days before trial to complete all discovery.




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11. Proposed deadline for filing motions other than motions for class certification.

   The parties propose a deadline of 120 days before trial to file dispositive motions.

12. Class certification: In the case of a class action complaint, the proposed deadline for the
    parties to file a motion for class certification.

       N/A

13. Do the parties anticipate any issues about claims of privilege or of protection as trial
    preparation materials? If the parties agree to a procedure to assert these claims after
    production, do they want the Court to include their agreement in an order under Federal
    Rule of Evidence 502?

       No.


DATED this 22nd day of March, 2023.

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                                    CERTIFICATE OF SERVICE

       The undersigned certifies that on the date stated below this document was filed with the

Clerk of the Court for the United States District Court for the Western District of Arkansas via

the CM/ECF system, which will send notification of such filing to the following e-mail

addresses:

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 Attorney for Defendants Turn Key Health Clinics,     Attorney for Defendant Sebastian County,
 LLC; Jawaun Lewis, DO; and Christeena                Arkansas
 Ferguson




      Dated this 22nd day of March, 2023.


                                             s/ Hank Balson
                                            Hank Balson




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